     Case 1:24-cv-03477-RBW             Document 1-1    Filed 12/12/24   Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


JARVIS WALLER                                    *
110 Cottage Grove Drive                          *
Pasadena, MD 21122                               *
                                                 *
               Plaintiff,                        *
                                                 *
                                                 *      Case No.: 1:24-cv-03477
                                                 *
      v.                                         *
                                                 *
                                                 *     JURY TRIAL DEMANDED
LONNIE G. BUNCH III, SECRETARY,                  *
Smithsonian Institution                          *
P.O. Box 37012, MRC 012                          *
Washington, DC 20013-7012                        *
                                                 *
               Defendant.                        *
                                                 *
                                                 *



                                  PLAINTIFF’S EXHIBIT LIST


 EXHIBIT NO.     DESCRIPTION         MARKED      RECEIVED        WITNESS       EXHIBIT
                                     FOR I.D.       IN                         SENT TO
                                                 EVIDENCE                       JURY
                                                                              (Date/Time)

      1          Note on Car       Exhibit 1    12/12/2024

      2          Note in Locker    Exhibit 2    12/12/2024
